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  EXHIBIT 4
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                                                     U.S. Department of Justice

                                                     Andrew E. Lelling
                                                     United States Attorney
                                                     District of Massachusetts
Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     September 16, 2019

Mr. John Hueston, Esq.
Hueston Hennigan LLP
620 Newport Center Drive, Suite 1300
Newport Beach, CA 92660

          Re: United States v. William McGlashan

Dear Mr. Hueston:

       This letter is in response to your letter dated September 3, 2019—styled as a request
pursuant to FED. R. CRIM. P. 16 (“Rule 16”) and 26.2 (“Rule 26.2”), 18 U.S.C. § 3500 (“Jencks
Act”), Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150, 154 (1972)
and Local Rules 116.1, 116.2 and 116.4.

         First, with respect to materials producible pursuant to Rule 26.2, the Jencks Act and 18
USC 3500, as you are aware, these materials are not producible at this time. See Rule 16(a)(2)
(“this rule does not authorize the discovery or inspection of reports, memoranda, or other internal
government documents made by an attorney for the government or other government agent in
connection with investigating or prosecuting this case. Nor does this rule authorize the
discovery or inspection of statements made by prospective government witnesses except as
provided in 18 U.S.C. § 3500.”); 18 U.S.C. § 3500 (“no statement or report in the possession of
the United States which was made by a Government witness (other than the defendant) shall be
the subject of a subpoena, discovery or inspection until said witness has testified on direct
examination in the trial of the case”); Rule 26.2 (“after a witness other than the defendant has
testified on direct examination, the court … must order an attorney for the government … to
produce … any statement of the witness that is in their possession”). Accordingly, subject to the
caveat that statements contained in reports may be producible pursuant to Brady, as discussed
below, FBI 302s or other witness reports are not producible at this time.

        Second, with respect to Rule 16 materials, the Government has produced eight tranches
of discovery thus far. This discovery has included statements of the defendant, items material to
the preparation of the defense, and items the government intends to use in its case-in-chief. We
have complied with Rule 16. The Government’s investigation is ongoing, and pursuant to the
Government’s continuing obligations to produce Rule 16 materials under Rule 16(c), the
Government will supplement its discovery on a monthly basis going forward.
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        In your letter, you note that the government has “produced some discovery pursuant to
Local Rule 116.1,” but is withholding materials that are “required to be produced.” The
government does not believe this to be the case. If you can provide me with specifics as to
exactly what material you believe are missing, I can then make a determination as to whether
they are available and are required to be produced pursuant to Rule 16.

        You also note that you are requesting materials “pertinent to a potential entrapment
defense.” Entrapment requires a defendant to prove that: 1) there was “improper government
inducement,” and 2) that the defendant had a lack of predisposition to commit the offense. See
United States v. Teleguz, 492 F.3d 80 (1st Cir. 2007). Here, given, at a bare minimum, that the
ACT exam that McGlashan is alleged to have facilitated the cheating on occurred nearly one
year before Rick Singer began cooperating with the government, it is unclear as to how there
could be any “government inducement,” let alone “improper government inducement,” under
these circumstances. Similarly, the vast majority of the steps taken, telephone calls and acts
regarding the USC side door scheme—including the photos taken in McGlashan’s backyard that
were intended to be used as part of the football profile—took place well-before Singer’s
cooperation.

        Third, Brady does not create a general right to criminal discovery. See Weatherford v.
Bursey, 429 U.S. 545, 559 (1977) (“There is no general constitutional right to discovery in a
criminal case, and Brady did not create one.”). Rather, it obligates the government to disclose
evidence that is favorable to the accused and material to punishment. See, e.g., United States v.
Prochilo, 629 F.3d 264 (1st Cir. 2011); see also Strickler v. Greene, 527 U.S. 263, 280 (1999)
(evidence is “favorable to the accused” if it is exculpatory and “material” if there is a reasonable
probability that, had it been disclosed, the result of the proceeding would have been different). It
applies only to materials that are both known to the prosecution and unknown to the defense.
See, e.g., United States v. Bender, 304 F.3d 161 (1st Cir. 2002) (“Brady applies to material that
was known to the prosecution but unknown to the defense”). The government is familiar with its
Brady obligations and has complied with and will continue to comply with them as this case
progresses. See Prochilo, 629 F.3d at 268 (“The government is primarily responsible for
deciding what evidence it must disclose to the defendant under Brady.”).

        If you are able to identify specific discovery materials you seek, and why you think those
materials constitute Brady, please let us know, and we will be happy to consider such requests.
See Prochilo, 629 F.3d at 268 (defendant’s Brady request “cannot consist of mere speculation,”
and defendant “should be able to articulate with some specificity what evidence he hopes to find
in the requested materials, why he thinks the materials contain this evidence, and finally, why
this evidence would be both favorable to him and material”).

        Finally, I note that despite our request, you have not produced any Rule 16(b) discovery
to the Government. As you are aware, a defendant is required to produce Rule 16(b) discovery if
the item is within a defendant’s possession or control and the defendant intends to use the item in
his case-in-chief at trial. Please provide any discovery materials to the Government as soon as
possible.



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         Examples of discovery materials sought by the Government include, but are not limited
to, the following:

           •   On November 28, 2017, McGlashan emailed Rebecca Gustin at Marin Academy
               and stated, “I am in LA with George on Dec 9, and Rick (George’s college
               councilor) has arranged for George to take the ACT test at a school while we are
               there over the weekend.” The Government seeks all documents regarding: why
               the defendant was traveling to LA with George, when that decision and travel
               plans were made, the purpose of the trip, and any other business or activities
               conducted in LA by George and Bill other than taking the ACT at West
               Hollywood College Prep.

           •   Any record of financial contributions to West Hollywood College Prep by
               McGlashan;

           •   Any record of financial contributions to the Key Worldwide Foundation as well as
               any records of why McGlashan paid the Foundation $50,000;

           •   Any record of George McGlashan’s involvement in football or kicking/punting,
               and any records showing him being recruited for football; and,

           •   Any record of McGlashan’s communications with employees or board members
               of USC in which they offer to guarantee McGlashan’s son admission to USC in
               exchange for a specified financial payment.

        These are just examples of documents and records that could be used in any case-in-
chief. I would like to schedule a call in the near future to discuss your requests as well as the
government’s reciprocal discovery requests.



                                              Sincerely,

                                              ANDREW E. LELLING
                                              United States Attorney


                                       By:     /s Eric S. Rosen
                                              Eric S. Rosen
                                              Justin D. O’Connell
                                              Kirsten A. Kearney
                                              Leslie A. Wright
                                              Assistant U.S. Attorneys




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